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                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF PUERTO RICO


UNITED STATES OF AMERICA
Plaintiff
vs                                           CRIMINAL 08-0281CCC
1) ISMAEL VAZQUEZ-LARRAURI, a/k/a Tara,
a/k/a Junito, a/k/a El Gordo
2) VICTOR RODRIGUEZ-RIVERA, a/k/a Vitín
3) HIRAM TORRES-AVILES, a/k/a Bizcocho
4) ADALBERTO LEON-COLLAZO, a/k/a Berto
5) LUIS CARTAGENA-CARRASQUILLO,
a/k/a Luis Moco
6) JULIO MORALES-VAZQUEZ, a/k/a Julio
Quilla
7) JOSE RIOS-HERNANDEZ, a/k/a El Gordo
de la Vega, a/k/a Tati Ríos
8) JOSE O. VAZQUEZ-FIGUEROA,
a/k/a Chopa
9) NELSON CARDONA-SANTIAGO
10) FELIPE LOPEZ-DE LA CRUZ
11) BRENDA RODRIGUEZ-MARQUEZ,
a/k/a La Punky
12) JOSE RICARDO BURGOS-RESTO,
a/k/a Ricky Burgos
13) JAIRO VELAZQUEZ-RIVERA
14) FERNANDO GONZALEZ-COLON,
a/k/a Naldin
15) HECTOR DIAZ-NOGUERAS, a/k/a Chico
16) EDWIN SANTOS-MARTINEZ, a/k/a Chino,
a/k/a Chinito
17) LUIS ROSARIO-RIVERA, a/k/a Luis el
Negro
18) ROBERTO ORTIZ-RODRIGUEZ,
a/k/a Robert el Viejo
19) ELIEZER BURGOS-TORRES, a/k/a Eli
20) JOSE JIMENEZ-ROBLES, a/k/a Joy
21) ANGEL IGARAVIDEZ-GONZALEZ,
a/k/a Bebo
22) LEONARDO RIVERA-VICENTE, a/k/a Naldi
23) HECTOR L. VAZQUEZ-NIEVES,
a/k/a Hectitor
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24) VICTOR SUAREZ-LAGO, a/k/a Pakay
25) ABRAHAM GARCIA-RIVERA, a/k/a Juni,
a/k/a Juni Morrina
26) ALEXANDER ARROYO-GONZALEZ,
a/k/a Alex Colchoneta
27) JOSE L. GONZALEZ-RIVERA, a/k/a Cano
Diente
28) CARLOS O. RIVERA-RODRIGUEZ,
a/k/a Carlos Omar
29) EFRAIN SANTIAGO-BURGOS,
a/k/a Miyagui
30) NOELIA LOPEZ-ORTIZ
31) EUCLIDES DE JESUS-ROSA, a/k/a Clidu,
a/k/a El Viejo de Coamo
32) MARLYN MARCANO-LOPEZ
33) ESTEBAN O. SERATE-SANTIAGO,
a/k/a Omi el Negro
34) JASON JAUME-SUAREZ, a/k/a Jason
35) JAVIER CASTRO-SUAREZ, a/k/a Javi
36) OMAR RODRIGUEZ-ARROYO, a/k/a Omi
Planicie
37) ALEX M. TRINIDAD, a/k/a Alex
38) CARLOS A. RIVERA-MALAVE, a/k/a La
Ponca
39) JUAN C. SANTEL-MELENDEZ,
a/k/a Melaza
40) RAYMOND RIVERA-RIVERA
41) CHRISTIAN ORTIZ-MELENDEZ
42) SERGIO RODRIGUEZ-MENDOZA
43) CARLOS SUAREZ-VEGA, a/k/a Bribón
44) MIGUEL VELEZ-BONILLA, a/k/a Cano,
Cachete
45) JOSE R. ORTIZ-RIVERA, a/k/a Pito
46) JOSE LUIS LOPEZ-MENDEZ, a/k/a Ñoño,
a/k/a Kiko
47) ENRIQUE RODRIGUEZ-MARQUEZ
48) CARLOS ROSARIO-ROSARIO, a/k/a Pinto
49) ALEX ORTIZ-CARABALLO, a/k/a Bocudo,
a/k/a Mocudo, a/k/a Flaco
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 50) GERARDO MARCANO-RIVERA,
 a/k/a Bebe
 51) ISMAEL OCASIO-LAGO, a/k/a Ismaelito,
 a/k/a Esquimalito
 52) WILLIAM VAZQUEZ-RIVERA, a/k/a Cabito
 53) ANGELICA DELGADO-VALDEZ,
 a/k/a Angie
 54) NELSON MARTINEZ-ROMAN
 55) HUMBERTO CARABALLO-RESTO,
 a/k/a Papo XXX
 56) RAMON FALCON-SANTOS, a/k/a Bebe
 57) OBED JIMENEZ-ROBLES
 58) ANGEL R. LAGO-CAMACHO, a/k/a Rafi
 59) JOVANNY SIERRA-ORTIZ
 60) ZANDY TORRES-MENDEZ
 61) ALEXIS LOPEZ-PEREZ, a/k/a Pamela
 62) JOSE BARRETO-LUGO
 63) JOSE A. ORTIZ-RIOS, a/k/a Papo Lover
 64) BENJAMIN CLAUDIO-COTTO, a/k/a Puchi
 65) OSVALDO IRIZARRY-RIVERA,
 a/k/a El Gringo
 66) ERIC A. RODRIGUEZ-MARTINEZ,
 a/k/a Testin
 67) DIGNA VIOLETA-LARRAURI
 68) VANESSA RIVERA-MELENDEZ,
 a/k/a Vanessa Black Angus
 69) NELIDA ORTIZ
 70) RICARDO ORTIZ-RIVERA, a/k/a Deo
 71) YARITZA MELENDEZ-FUENTES
 Defendants



                                        ORDER

      Having considered the Report and Recommendation filed on January 23, 2012
(docket entry 2758) on a Rule 11 proceeding of defendant Yaritza Meléndez-Fuentes (71)
held before U.S. Magistrate Judge Camille L. Vélez-Rivé on January 19, 2012, to which no
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opposition has been filed, the same is APPROVED. Accordingly, the plea of guilty of
defendant Meléndez-Fuentes is accepted. The Court FINDS that her plea was voluntary
and intelligently entered with awareness of her rights and the consequences of pleading
guilty and contains all elements of the offense charged in the indictment.
      This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since January 19, 2012. The sentencing hearing is set for April 18,
2012 at 4:15 PM.
      SO ORDERED.
      At San Juan, Puerto Rico, on February 29, 2012.



                                                S/CARMEN CONSUELO CEREZO
                                                United States District Judge
